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 6
     Attorneys for Defendants
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 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN JOSE DIVISION
11

12 ELIZABETH WEISS,                                  Case No. 5:22-cv-00641-BLF

13                 Plaintiff,                        STIPULATION TO EXTEND BRIEFING
                                                     SCHEDULE; DECLARATION OF
14          vs.                                      BRYAN H. HECKENLIVELY IN
                                                     SUPPORT OF STIPULATION;
15 STEPHEN PEREZ, in his official capacity as        [PROPOSED] ORDER
   President of San Jose State University; et al.,   (LOCAL RULE 6-2)
16
                  Defendants.                        Judge:    Hon. Beth Labson Freeman
17                                                   Date:     October 13, 2022
                                                     Time:     9:00 a.m.
18                                                   Crtrm.:   3, 5th Floor
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                                                                    Case No. 5:22-cv-00641-BLF
       STIPULATION TO EXTEND BRIEFING SCHEDULE; DECLARATION ISO STIPULATION; [PROPOSED]
                                           ORDER
      Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 2 of 7




 1 IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES THAT:

 2      1. Because Plaintiff’s First Amended Complaint differs materially from her original
 3         complaint, and because the Court’s first available hearing date for a motion to dismiss
 4         the First Amended Complaint is October 13, the parties have agreed to the following
 5         briefing schedule for Defendants’ anticipated motion to dismiss to permit them
 6         additional time to brief the issues without delaying the Court’s hearing or consideration
 7         of the motion:
 8             a. Defendants may have until and including July 7, 2022, to file their motion to
 9                 dismiss Plaintiff’s First Amended Complaint.
10             b. Plaintiff may have until and including August 4, 2022, to file her opposition to
11                 Defendants’ motion to dismiss her First Amended Complaint.
12             c. Defendants may have until and including August 18, 2022, to file their reply
13                 brief in support of their motion to dismiss Plaintiff’s First Amended Complaint.
14             d. The motion will be heard on October 13, 2022, which date Defendants have
15                 already reserved, notwithstanding the fact that this schedule provides for the
16                 motion to be filed 22 days after the hearing date was reserved on June 15, 2022
17                 (rather than within 14 days as provided in this Court’s Standing Order re Civil
18                 Cases § III.A).
19      2. This is the first extension of time for these briefs. Defendants previously received a
20         brief extension to file their motion to dismiss the original complaint and their
21         opposition to the preliminary injunction motion, ECF No. 23, as well as to file their
22         reply brief in support of their motion to dismiss. ECF No. 39. Plaintiff previously
23         received a brief extension to file her reply brief in support of her motion for a
24         preliminary injunction, and to file her opposition to Defendants’ motion to dismiss.
25         ECF No. 39.
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                                                 -1-                        Case No. 5:22-cv-00641-BLF
                            STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 3 of 7




 1 DATED: June 17, 2022                   MUNGER, TOLLES & OLSON LLP

 2                                        By: /s/ Bryan H. Heckenlively
 3                                             BRYAN H. HECKENLIVELY
                                          Attorneys for Defendants
 4
     DATED: June 17, 2022                 DANIEL M. ORTNER
 5                                        ETHAN W. BLEVINS
                                          Pacific Legal Foundation
 6

 7                                        By:   /s/ Daniel M. Ortner
                                               DANIEL M. ORTNER
 8                                        Attorneys for Plaintiff
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                                                -2-                    Case No. 5:22-cv-00641-BLF
                            STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 4 of 7




 1                                     FILER’S ATTESTATION
 2          I, Bryan H. Heckenlively, am the ECF user whose identification and password is being used

 3 to file this Stipulation and Proposed Order to Extend Time pursuant to Civil Local Rule 5-1(h). I

 4 hereby attest that the above-named signatories concur in and authorize this filing.

 5

 6                                               _____/s/ Bryan H. Heckenlively________
                                                        BRYAN H. HECKENLIVELY, No. 279140
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                                                    -3-                       Case No. 5:22-cv-00641-BLF
                              STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 5 of 7




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 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11

12 ELIZABETH WEISS,                                     Case No. 5:22-cv-00641-BLF

13                 Plaintiff,                           DECLARATION OF BRYAN H.
                                                        HECKENLIVELY IN SUPPORT OF
14          vs.                                         STIPULATION TO EXTEND BRIEFING
                                                        SCHEDULE
15 STEPHEN PEREZ, in his official capacity as
   President of San Jose State University; et al.,      Judge:    Hon. Beth Labson Freeman
16                                                      Date:     October 13, 2022
                  Defendants.                           Time:     9:00 a.m.
17                                                      Crtrm.:   3, 5th Floor

18
19                       DECLARATION OF BRYAN H. HECKENLIVELY
20          I, Bryan H. Heckenlively, hereby declare:
21          1.     I am admitted to practice before all of the courts of the State of California and this
22 Court. I am an attorney at the law firm of Munger, Tolles & Olson LLP and counsel of record for

23 Defendants in the above-captioned matter. I make this declaration in support of the stipulated

24 motion to extend briefing schedule,

25          2.     The parties have jointly stipulated that:
26                 a.      Provided that the parties may retain their currently reserved hearing date for
27 Defendants’ Motion to Dismiss the First Amended Complaint of October 13, 2022:

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                                             -1-                   Case No. 5:22-cv-00641-BLF
      DECLARATION OF BRYAN H. HECKENLIVELY ISO STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 6 of 7




 1                         i.       Defendants may have until and including July 7, 2022, to file their

 2 motion to dismiss Plaintiff’s First Amended Complaint.

 3                         ii.      Plaintiff may have until and including August 4, 2022, to file her

 4 opposition to Defendants’ motion to dismiss her First Amended Complaint.

 5                         iii.     Defendants may have until and including August 18, 2022 to file

 6 their reply brief in support of their motion to dismiss Plaintiff’s First Amended Complaint.

 7          3.      Because Plaintiff’s First Amended Complaint differs substantially from Plaintiff’s

 8 original complaint, the parties agree that additional time is warranted to properly brief the motion

 9 to dismiss.

10          4.      This is the first extension of time for these briefs. Defendants previously received a

11 brief extension to file their motion to dismiss the original complaint and their opposition to the

12 preliminary injunction motion, ECF No. 23, as well as to file their reply brief in support of their

13 motion to dismiss. ECF No. 39. Plaintiff previously received a brief extension to file her reply

14 brief in support of her motion for a preliminary injunction, and to file her opposition to

15 Defendants’ motion to dismiss. ECF No. 39.

16          5.      The requested time modification would have no effect on the schedule for the case,

17 because Defendants’ motion to dismiss would still be heard on October 13, 2022, well after the

18 proposed briefing schedule has concluded.
19          I declare under penalty of perjury under the laws of the United States of America that the

20 foregoing is true and correct.

21          Executed on this 17th day of June, 2022, at San Francisco, California.

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23                                                     /s/ Bryan H. Heckenlively
                                                       Bryan H. Heckenlively
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                                             -2-                   Case No. 5:22-cv-00641-BLF
      DECLARATION OF BRYAN H. HECKENLIVELY ISO STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 83 Filed 06/17/22 Page 7 of 7




 1                                       PROPOSED ORDER
 2         PURSUANT TO STIPULATION, IT IS ORDERED THAT:

 3         a.     Defendants may have until and including July 7, 2022 to file their motion to

 4 dismiss Plaintiff’s First Amended Complaint.

 5         b.     Plaintiff may have until and including August 4, 2022 to file her opposition to

 6 Defendants’ motion to dismiss her First Amended Complaint.

 7         c.     Defendants may have until August 18, 2022 to file their reply brief in support of

 8 their motion to dismiss Plaintiff’s First Amended Complaint.

 9         d.     The motion will be heard on October 13, 2022 at 9:00 a.m. if filed on or before July

10 7, 2022.

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12 Dated June ____, 2022                           _____________________________________
                                                   THE HON. BETH LABSON FREEMAN
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                                              -1-                   Case No. 5:22-cv-00641-BLF
                 [PROPOSED] ORDER ON STIPULATION TO EXTEND BRIEFING SCHEDULE
